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               IN THE UNITED STATES DISTRICT COURT
              FOR THE WESTERN DISTRICT OF VIRGINIA
                        ROANOKE DIVISION


FAHED T. TAWALBEH,                             )
                                               )
                  Petitioner,                  )
                                               )
v.                                             )    Case No. 7:14CV00297
                                               )
UNITED STATES OF AMERICA,                      )
                                               )
                 Respondent.                   )


UNITED STATES OF AMERICA,                      )
                                               )
                                               )
v.                                             )    Case No. 7:97CR00024-007
                                               )
FAHED T. TAWALBEH,                             )
                                               )
                 Defendant.                    )

                                    OPINION

      Fahed T. Tawalbeh, Pro Se Petitioner.

      The petitioner, a federal inmate proceeding pro se, has filed a pleading that

he styles as a “Motion to Modify Pursuant to 28 U.S.C. § 1651(a) For

Constitutional Violation (Not a 2255).” (Pet. 1.) The court docketed the pleading

as a Petition for a Writ of Coram Nobis under the All Writs Act, 28 U.S.C.

§ 1651(a). After review of the petition and the court’s records, however, I find the

petitioner is not entitled to the relief requested under § 1651, and that his
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submission is appropriately construed and summarily dismissed as an unauthorized

second or successive Motion to Vacate, Set Aside or Correct Sentence, pursuant to

28 U.S.C. § 2255. 1

      Petitioner Fahad T. Tawalbeh was convicted in this court of offenses arising

from the burning of a competitor’s store and is serving a total term of 431 months

imprisonment. United States v. Abed, Case No. 7:97CR00024-007. Tawalbeh’s

direct appeal was unsuccessful.      United States v. Abed, 203 F.3d 822 (4th Cir.),

cert. denied, 529 U.S. 1121 (2000).

      Tawalbeh is clearly not entitled to relief under the statute section he cites. A

petition under § 1651, such as one seeking a writ of coram nobis, is not available to

a defendant in federal custody to raise claims that were or could have been raised

through other remedies, such as a motion for new trial or a motion to vacate

sentence under § 2255. See, e.g., United States v. Johnson, 237 F.3d 751, 755 (6th

Cir. 2001). Moreover, the writ of coram nobis was “traditionally available only to

bring before the court factual errors ‘material to the validity and regularity of the

legal proceeding itself,’ such as the defendant’s being under age or having died



      1
         The court is not bound by the § 1651 label that Tawalbeh, as a pro se petitioner,
attaches to his pleading and may liberally construe and address his submission according
to the nature of the relief sought. See Gonzalez v. Crosby, 545 U.S. 524, 531 (2005)
(finding that habeas petitioner’s filing seeking relief under change in substantive law
subsequent to first habeas proceeding is properly construed and dismissed as successive
habeas).
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before the verdict.” Carlisle v. United States, 517 U.S. 416, 429 (1996) (citation

omitted).

      In the instant petition, Tawalbeh seeks modification of his criminal sentence

under Alleyne v. United States, 133 S. Ct. 2151 (2013). He states that, under prior

precedent, he raised similar challenges in his initial § 2255 motion, which the

Court denied on the merits. Tawalbeh v. United States, No. CR-97-24-R, 2002

WL 32494503 (W.D. Va. Feb. 22, 2002), appeal dismissed, 54 F. App’x 169 (4th

Cir.) (unpublished), cert. denied, 540 U.S. 999 (2003). Because Tawalbeh had an

available remedy under § 2255 to challenge the validity of his sentence and

remains in federal custody, he cannot pursue this claim in a writ under § 1651.

Moreover, his current challenge is not based on any fundamental factual error as

required to warrant coram nobis relief.

      Because Tawalbeh may not proceed with his claims through any

extraordinary writ under § 1651(a), I construe his claims as a § 2255 motion. This

court may consider a second or successive § 2255 motion only upon specific

certification from the United States Court of Appeals for the Fourth Circuit that the

claims in the motion meet certain criteria. See § 2255(h). Tawalbeh has already

taken his bite at the § 2255 apple, however. Thus, his current motion is a second

or successive one under § 2255(h). Tawalbeh offers no indication that he has




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obtained certification from the court of appeals to file a second or successive

§ 2255 motion. Therefore, I must dismiss his motion as successive.

      A separate Final Order will be entered herewith. The clerk will send a copy

of that Final Order and this Opinion to the petitioner.

                                                DATED: July 9, 2014

                                                /s/ James P. Jones
                                                United States District Judge




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